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                                                                                               2024 May-08 AM 11:39
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION

 State of ALABAMA, et al.,
                                        Plaintiffs,
                                                      No. 7:24-cv-533-GMB
        v.

 Miguel CARDONA, in his official
 Capacity as U.S. Secretary of
 Education, et al.,
                                      Defendants.

             PLAINTIFFS’ MOTION FOR STAY OF EFFECTIVE DATE
                      OR PRELIMINARY INJUNCTION
       Plaintiffs are four States and four private groups. They challenge the U.S. Department

of Education’s recently published rule regarding Title IX of the Education Amendments Act

of 1972, Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal

Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024). The challenged rule’s effective date is

August 1, 2024. Plaintiffs respectfully ask this Court, before August 1, to stay the rule’s effec-

tive date, 5 U.S.C. §705, or to preliminarily enjoin Defendants from enforcing it.

       Plaintiffs are entitled to interim relief. The challenged rule is likely unlawful because it

violates the Administrative Procedure Act in numerous ways. It illegally redefines sex discrim-

ination to include “gender identity,” illegally rewrites the Supreme Court’s definition of sexual

harassment, and illegally changes key procedures for the accused. In APA parlance, the rule is

“arbitrary,” “capricious,” “not in accordance with law,” and “in excess of statutory … author-

ity.” 5 U.S.C. §706(2). The State Plaintiffs will suffer irreparable harm because the challenged

rule conflicts with their laws and will impose heavy, unrecoverable compliance costs. And

once those policies are in place, the Private Plaintiffs’ members will suffer irreparable harm in


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the form of chilled speech and the loss of their First and Fourteenth Amendment rights. Be-

cause Defendants are the federal government, the remaining criteria—balance of equities and

public interest—merge and here favor preliminary relief as well. The public has no interest in

enforcing a rule that is illegal, and it has an important interest in governmental agencies fol-

lowing the law.

       For all these reasons, which are detailed in the accompanying brief, the Court should

grant Plaintiffs’ motion and enter preliminary relief.




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Dated: May 8, 2024                         Respectfully submitted,

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                             CERTIFICATE OF SERVICE
       I e-filed this document and its attachments with the Court. Because Defendants have

not yet entered an appearance, I am also serving them by certified mail, return receipt re-

quested, at the addresses below:

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Dated: May 8, 2024                                     s/ Cameron T. Norris




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